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13

14                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
15

16   UNITED STATES OF AMERICA,     )               Case No.: 15-cv-00098-HSG
                                   )
17                 Plaintiff,      )
            vs.                    )               IN ADMIRALTY
18
                                   )
19   ALECIO SHIPPING INC.; FAM     )
20
     MARINE SERVICES, INC.; SHOTON )
     MARITIME, LTD; SERAFIM        )               CONSENT JUDGMENT
21   SOFIANTIS, an individual;     )
22
     KONSTANTINOS PAPAGEORGIOU, an )
     individual; and UNKNOWN       )
23   DEFENDANTS 1-10               )
24
                                   )
                   Defendants.     )
25                                 )
26

27

28

     Consent Judgment                        1              Case No.: 3:15-cv-00098-HSG
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                                              I.    PARTIES
 1

 2          This Consent Judgment is made and entered into by and among the following parties

 3   (hereinafter referred to collectively as “the Settling Parties” and individually as “Party”):
 4
            A.      Plaintiff United States of America on behalf of: the Department of Homeland
 5
     Security, United States Coast Guard (“USCG”), National Pollution Funds Center (“NPFC”), and
 6

 7
     the Oil Spill Liability Trust Fund (“OSLTF”);

 8          B.      Defendants FAM Marine Services, Inc., and Konstantinos Papageorgiou
 9   (“Settling Defendants”).
10
                                        II.    INTRODUCTION
11
            A.      On January 8, 2015, the United States filed a Verified Complaint under provisions
12

13   of, inter alia, the Oil Pollution Act (“OPA”), 33 U.S.C. §§ 2701 et seq., against defendants

14   Alecio Shipping Inc. (“Alecio”); FAM Marine Services, Inc. (“FAM”), Shoton Maritime,
15
     Ltd (“Shoton”), Serafim Sofiantis (“Sofiantis”), and Konstantinos Papageorgiou
16
     (“Papageorgiou”).
17

18          B.      On February 27, 2015, Defendants FAM and Papageorgiou filed an Answer

19
     (Docket No. 20) to the Verified Complaint.
20
            C.      On February 21, 2017, Default Judgments pursuant to Rule 55(b)(1) of the
21

22   Federal Rules of Civil Procedure were entered against Defendants Alecio and Shoton

23   (Docket No. 90).
24
            D.      Based on the representations of the Settling Parties, Defendant Sofiantis is
25

26
     believed to be in Greece and, in any event, the United States has been unable to serve the

27   Summons and Verified Complaint upon Sofiantis.
28

     Consent Judgment                              2                    Case No.: 3:15-cv-00098-HSG
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             E.      Settling Parties United States, FAM, and Papageorgiou, by and through their
 1

 2   respective undersigned counsel, entered into a settlement agreement that has been approved by
 3
     all Settling Parties and the respective principals having full and final settlement authority.
 4
             F.      The Settling Parties agree, and the Court, by entering this Consent Judgment
 5
     finds, that the Settling Parties’ settlement and this Consent Judgment effectuating the settlement
 6

 7   has been negotiated by the Settling Parties in good faith, and that it is fair and reasonable.

 8           NOW THEREFORE, WITH THE UNDERSIGNED CONSENTS OF THE
 9
     SETTLING PARTIES, IT IS HEREBY ADJUDGED, ORDERED AND DECREED AS
10
     FOLLOWS:
11
                                 III.    JURISDICTION AND VENUE
12

13           1.      This Court has jurisdiction over the subject matter of this action pursuant to, inter

14   alia, 28 U.S.C. §§ 1331 and 1345, and OPA, 33 U.S.C. § 2717(b). Venue is proper in this Court
15
     pursuant to 28 U.S.C. § 1391(b) and 33 U.S.C. § 2717(b). The Court has personal jurisdiction
16
     over the Settling Defendants, who do not contest the Court’s jurisdiction and do not contest the
17

18
     propriety of venue in this judicial district.

19                                       IV.     APPLICABILITY
20           2.      The obligations of this Consent Judgment apply to and are binding upon the
21
     Settling Parties, and each of them, and upon the Settling Defendants’ successors, assigns, or
22
     other entities or persons otherwise bound by law.
23

24                                         V.        SETTLEMENT

25           3.      Judgment shall be, and the same is, entered in favor of the United States
26
     and against Settling Defendants FAM Marine Services, Inc., and Konstantinos
27

28
     Papageorgiou, jointly and severally, in the principal amount of $225,000 (Two Hundred

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 1
     Twenty-Five Thousand Dollars, and Zero Cents), plus simple interest of 2.5 % per annum

 2   on any unpaid portion of the foregoing principal amount of $225,000, said principal
 3
     amount to be paid as follows:
 4
            (a)     An up front initial payment of $15,000 (the “Initial Payment”) to paid to the
 5

 6   United States within 90 days of the Court’s execution of this Consent Judgment;
 7
            (b)     In addition to the foregoing Initial Payment, Semi-Annual Payments (2
 8
     payments per year) shall be made to the United States as follows:
 9

10                  (i)     Years 1-4 = $12,500 each payment (Total = $100,000 for Years 1-
11
     4);
12
                    (ii)    Years 5-7 = $21,479 each payment (Total = $130,495 Years for 5-
13

14   7);
15                  (iii)   The Semi-Annual Payments (the Semi-Annual Payment Dates) shall
16
                            be due each year on January 15th and July 15th. The first Semi-
17

18                          Annual Payment shall commence on the earliest Semi-Annual date

19                          following 90 days after the payment of the Initial Payment of
20
                            $15,000;
21

22
            4.      No pre-payment penalties apply.

23          5.      The foregoing monetary obligation of $225,000, plus accrued interest, is a
24
     joint and non-severable debt and obligation of Settling Defendants FAM and
25
     Papageorgiou to the United States. Thus, in the event of default and/or non-payment of
26

27   any portion of the debt by one of the Settling Defendants, the other Settling Defendant
28
     shall not be relieved from paying the full sum remaining to be paid from the original
     Consent Judgment                          4                 Case No.: 3:15-cv-00098-HSG
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 1
     amount of principal and interest, less amounts previously paid down as of the date of

 2   default or non-payment.
 3
            6.      All payments shall be made in U.S. Dollars ($) and shall be made payable
 4
     to “United States Dept. of Justice” and shall be identified by reference to “U.S. v.
 5

 6   Alecio Shipping, FAM Marine, Papageorgiou, et al., DJ No. 62-1102”, and sent to the
 7
     following:
 8
            If sent by regular, certified, or registered mail:
 9
            Attn: Attorney in Charge
10                 Vickey L. Quinn, Trial Attorney
            West Coast Office
11          Torts Branch, Civil Division (Admiralty)
            U.S. Department of Justice
12          P.O. Box 36028
            450 Golden Gate Avenue
13
            San Francisco, California 94102-3463
14
            If sent by overnight mail, e.g., FedEx, UPS:
15
            Attn: Attorney in Charge
16                  Vickey L. Quinn, Trial Attorney
            West Coast Office
17          Torts Branch, Civil Division (Admiralty)
            U.S. Department of Justice
18          7th Floor, Room 7-5395
            450 Golden Gate Avenue
19          San Francisco, California 94102-3463
20
            7.      With respect the payments set forth in Section V, sub-paragraphs (a) and
21
     (b) above, the Settling Defendants shall have a 30 (thirty) day grace period on each such
22

23   payment.

24          8.      In the event that the Settling Defendants, or either of them, fail to make full
25
     amount of payment of the Initial Payment ($15,000) or any Semi-Annual Payment
26

27
     thereafter in accordance with the schedules and grace periods set out above (any such

28   non-payment(s) to constitute a “Default”), then the full amount of the $225,000 and
     Consent Judgment                              5               Case No.: 3:15-cv-00098-HSG
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 1
     accrued interest awarded by this Consent Judgment shall immediately be accelerated,

 2   due, owing, and payable to the United States without further notice or demand, plus
 3
     interest continuing to accrue, plus costs, plus the United States’ attorneys’ fees, less any
 4
     amounts paid up to the time of the missed payment date/Default.
 5

 6           9.      If the Settling Defendants fully and completely comply with all terms and
 7
     final payment provisions specified in this Consent Judgment, then, notwithstanding any
 8
     other provision in this Consent Judgment regarding the total Consent Judgment entered in
 9

10   the amount of $225,000, the United States shall, upon request, file a Satisfaction and
11
     Discharge of this Consent Judgment herein as against the Settling Defendants.
12
       VI.        ADDITIONAL MONETARY CONDITIONS TO BE ENFORCED UPON THE
13
                           HAPPENING OF CERTAIN CONTINGENCIES
14

15           10.     If the real estate owned at 2910 Ocean Mist Court, Seabrook, Texas, is sold over

16   the course of the settlement period, Settling Defendant Papageorgiou shall pay the United States
17
     50% of any net sales proceeds. Net sales proceeds are defined as gross sales proceeds less any
18
     outstanding mortgages, less sales commissions, less any other sales related expenses. No
19

20
     mortgages, liens, or encumbrances of any kind may be placed upon said property without prior

21   written notice to, and the written approval of, the United States. In determining whether to grant
22
     approval to such a proposed mortgage, lien, or encumbrance on the said property, the United
23
     States will give particular consideration to such request(s) in the event that Defendant
24
     Papageorgiou warrants to       the United States' satisfaction that the purpose of requested
25

26   encumbrance is to be used as security for necessary maintenance and repairs to the said property

27   and/or for loans of funds to be used to pay for necessary medical services and related health care
28
     expenses for Settling Defendant Papageorgiou, his wife (Marilyn Papageorgiou), his daughter
     Consent Judgment                            6                   Case No.: 3:15-cv-00098-HSG
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     (Angela Marie Papageorgiou), or his mother-in-law (Mary Ann Hendron). By signing this
 1

 2   agreement, Settling Defendant Papageorgiou expressly warrants that there are currently no liens,

 3   mortgages, or other encumbrances on said property.
 4
            11.     Except as provided in paragraph 10 above, if either or both Settling Defendants
 5
     place liens, encumbrances, or mortgages on the aforesaid real property without the express
 6

 7
     written consent of the United States, such action(s) shall be a condition of Default and entitle the

 8   United States to take the actions described above in Section V in the event of Defaults.
 9          12.     The foregoing payment in paragraph 10 above shall be in addition to any and all
10
     sums set forth in Section V above, i.e., they shall be in addition to the foregoing $225,000
11
     principal obligation set forth in Section V.
12

13                                VII.    ADDITIONAL CONDITIONS

14          13.     If real estate owned at 6601 Springer St., Houston, Texas, is sold over the course
15
     of the settlement period, Settling Defendant FAM agrees to pay the United States 50% of any net
16
     sales proceeds, said proceeds to be used to pay down any remaining principal and accrued
17
     interest then remaining due and owing on the original $225,000 obligation set forth in Section V
18

19   above. Net sales proceeds are defined as gross sales proceeds less any outstanding mortgages,

20   less sales commissions, less any other sales related expenses. No mortgages, liens, or
21
     encumbrances of any kind may be placed upon said property without prior written notice to,
22
     and the written approval of, the United States, approval for which will not be unreasonably
23

24   withheld by the United States (i.e. as examples only, said encumbrance(s) requested as
25
     security for necessary maintenance and repairs to the said property and/or for loans of funds
26
     to be used to pay for necessary medical services and related health care expenses for Settling
27

28

     Consent Judgment                               7                 Case No.: 3:15-cv-00098-HSG
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     Defendant Papageorgiou, his wife Marilyn Papageorgiou, his daughter Angela Marie
 1

 2   Papageorgiou, or his mother-in-law, Mary Ann Hendron.)
 3
            14.     If Settling Defendant Papageorgiou receives any payments from Settling
 4
     Defendfant FAM on the shareholder loan during the settlement period, Settling Defendant
 5

 6
     Papageorgiou agrees to pay the United States 25% of any and all such payments, said

 7   proceeds to be used to pay down any remaining principal and accrued interest then remaining
 8
     due and owing on the original $225,000 obligation set forth in Section V above.
 9
                                  VIII. SECURITY AND DEFAULT
10
            15.     As part of the settlement and this Consent Judgment, the United States shall
11

12   take a first priority mortgage lien on the property at 2910 Ocean Mist Court, Seabrook,
13
     Texas, said mortgage to secure the full amount of principal and interest on the obligation of
14
     $225,000 set forth in Section V above.
15
            16.     Except as specifically stated in paragraph 17 below, in the event of Default on
16

17   any payment obligation under this settlement agreement, the United States shall have the
18
     right to foreclose and sell said property and apply the proceeds of sale to any and all such
19
     sums then remaining due and owing by Settling Defendants FAM and Papageorgiou.
20

21
            17.     If, however, a Default on any payment obligation under the settlement and this

22   Consent Judgment is occasioned by the involuntary incapacitation of Settling Defendant
23
     Papageorgiou resulting in his inability to make such payments, then the right of the United
24
     States to foreclose and sell said property and apply the proceeds of sale to any and all such
25

26   sums then remaining due and owing by Settling Defendants FAM and Papageorgiou as

27   provided in paragraph 16 above, shall be suspended and held in abeyance until the passing(s)
28

     Consent Judgment                           8                  Case No.: 3:15-cv-00098-HSG
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     of Marilyn Papageorgiou, Mary Ann Hendron, and Defendant Papageorgiou, who otherwise
 1

 2   shall have a life estate in the residence at 2910 Ocean Mist Court, Seabrook, Texas.
 3

 4
           IX.     ACCEPTANCE OF RESPONSIBILITY OF RESPONSIBLE PARTIES
 5
                                             UNDER OPA
 6

 7          18.     Pursuant to the requirements of Section 1017(f)(2) of OPA, 33 U.S.C. §

 8   2717(f)(2), the Settling Defendants acknowledge and stipulate, for purposes of giving effect to
 9
     this Consent Judgment and to satisfy the requirements of § 1017(f)(2) of OPA, 33 USC §
10
     2717(f)(2), that they are Responsible Parties within the meaning of OPA.
11

12
                                            X.       NOTICES

13          19.     Unless otherwise specified herein, whenever modifications, submissions, or
14   communications are required by this Consent Judgment, they shall be made in writing and
15
     addressed as follows:
16
     To the United States:
17

18
            Re: DOJ Number 62-1102
            Attn: R. Michael Underhill (mike.underhill@usdoj.gov)
19                 Attorney in Charge
                   Vickey Quinn (vickey.l.quinn@usdoj.gov
20                 Trial Attorney
            West Coast Office and Pacific Rim Office
21          Torts Branch, Civil Division
            United States Department of Justice
22          7th Floor Federal Building, Room 7-5395
            P.O. Box 36028
23          450 Golden Gate Avenue
            San Francisco, California 94102-3463
24          Tel: 415-436-6630
            Fax: 415-436-6632
25
     And to:
26
            Re: FPN No. A12002
27
            National Pollution funds Center
28
            Attn: Director, National Pollution Funds Center
                   LaCresha Johnson
     Consent Judgment                            9                  Case No.: 3:15-cv-00098-HSG
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             4200 Wilson Blvd., Ste. 1000
 1           Arlington, VA 22203-1804
             1-800-280-7118
 2

 3

 4
     To Settling Defendants FAM and Papageorgiou:
 5

 6
     Joseph A. Walsh II (Joe.Walsh@Clydeco.us)
     Clyde & Co.
 7   301 East Ocean Boulevard, Suite 1550
     Long Beach, CA, 90802
 8   Tel: 562-317-3300
 9
     Fax: 562-317-3399

10
             20.     Any Settling Party may, by written notice to other Settling Parties, change its
11

12   designated notice recipient or notice address provided above.

13           21.     Notices submitted pursuant to this Section shall be deemed submitted upon
14
     mailing, unless otherwise provided in this Consent Judgment or by mutual agreement of the
15
     Settling Parties in writing.
16
                                         XI. EFFECTIVE DATE
17

18           22.     The Effective Date of this Consent Judgment shall be the date of the Entry of this

19   Consent Judgment by the Court.
20
                                XII.   RETENTION OF JURISDICTION
21
             23.     The Court shall retain jurisdiction over this case until termination of this Consent
22
     Judgment, for the purpose of effectuating or enforcing compliance with the terms of this Consent
23

24   Judgment.

25                                       XIII. MODIFICATION
26
             24.     The terms of this Consent Judgment may be modified only by a subsequent
27
     written agreement signed by all Settling Parties. Where the modification constitutes a material
28

     Consent Judgment                             10                   Case No.: 3:15-cv-00098-HSG
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     change to any term of this Consent Judgment, it shall be effective only upon approval by the
 1

 2   Court.

 3

 4

 5
                                    XIV. SIGNATORIES/SERVICE
 6

 7
              25.   Each undersigned representative of the Settling Defendants, together with the

 8   attorneys for the United States, certifies that he or she is fully authorized to enter into the terms
 9   and conditions of this Consent Judgment and to execute and legally bind the respective Settling
10
     Party he or she represents to the terms of this Consent Judgment.
11
                                          XV.     INTEGRATION
12

13            26.   With the exception of the limited class of documents specified in paragraph 27

14   below, this Consent Judgment constitutes the final, complete, and exclusive agreement and
15
     understanding among the Settling Parties with respect to the settlement embodied in the Consent
16
     Judgment, and this Consent Judgment supersedes all prior agreements and understandings,
17
     whether oral or written, concerning the settlement embodied therein. No other document, nor
18

19   any representation, inducement, agreement, understanding, or promise (other than documents

20   specified in paragraph 27 below), constitutes any part of this Consent Judgment or the settlement
21
     it represents, nor shall it be used in construing the terms of this Consent Judgment.
22
              27.   As set forth in Section VIII, paragraph 15 above, as part of the settlement and
23

24   this Consent Judgment the United States shall take a first priority mortgage lien on the

25   property at 2910 Ocean Mist Court, Seabrook, Texas, said mortgage to secure the full amount
26
     of principal and interest on the obligation of $225,000 set forth in Section V above. In order to
27
     give effect to the United States’ rights thereunder, the Settling Parties shall draft, exchange,
28

     Consent Judgment                             11                   Case No.: 3:15-cv-00098-HSG
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             a file, as appropriatee, the necesssary documeents to givee full force aand effect tto the
     execute and
 1

 2   United States’ rights under said Section
                                      S       VIII, paragraph 15.

 3

 4

 5
                                       XVI. FIN
                                              NAL JUDGM
                                                      MENT
 6

 7
            28.     The Court
                        C     hereby
                                   y determines that there iss no just reaason for delaay of entry oof this

 8   Judgmen
           nt and, upon
                      n approval an
                                  nd Entry off this Consennt Judgmennt by the Coourt, this Coonsent
 9   Judgmen
           nt shall consttitute a finall judgment of
                                                  o the Courtt, in accordaance with Ruules 54 and 58 of
10
     the Federral Rules of Civil Proced
                                      dure.
11
            IT
             T IS SO ADJUDGED.
12

13
     Dated: August
            A      31, 2017
14

15

16                                                 ___________________________________
                                                   UNITED ST TATES DISSTRICT JUDDGE
17

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     //
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     //
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     Consent Ju
              udgment                             12
                                                  1                    Case No.: 3:15-cv-000098-HSG
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 1
     //
 2
     //
 3
     //
 4

 5   //

 6

 7
            THE UNDERSIGNED SETTLING PARTIES enter into this Consent Judgment in

 8   the matter of UNITED STATES OF AMERICA v. FAM MARINE SERVICES, INC.;
 9
     KONSTANTINOS PAPAGEORGIOU, et. al:
10

11
     FOR THE UNITED STATES OF AMERICA:
12

13   Date: August 23, 2017.              CHAD A. READLER
14
                                         Acting Assistant Attorney General
                                         R. MICHAEL UNDERHILL
15                                       Attorney in Charge
16
                                         West Coast Office, Torts Branch, Civil Division
                                         U.S. Department of Justice
17
                                         /s/ Vickey L. Quinn
18
                                         VICKEY L. QUINN
19                                       Trial Attorney
                                         Torts Branch, Civil Division
20
                                         U.S. Department of Justice
21
                                         Attorneys for Plaintiff
22
                                         United States of America
23
     FOR FAM MARINE SERVICES, INC., AND KONSTANTINOS PAPAGEORGIOU:
24

25   Date: August 23, 2017.              CLYDE & CO.
26
                                         /s/ Joseph A. Walsh II
27                                       Joseph A. Walsh II
                                         Ellen McGlynn
28
                                         Conte Cicala
     Consent Judgment                   13                Case No.: 3:15-cv-00098-HSG
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 1
                                         Attorneys for Settling Defendants
 2                                       FAM MARINE SERVICES, INC., and
                                         KONSTANTINOS PAPAGEORGIOU
 3

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